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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                     Chapter 11
In re W.R. GRACE & CO., et al.,
                                                     Case No. 01-01139 (KJC)
    Debtors.
                                                     (Jointly Administered)
_________________________

CONTINENTAL CASUALTY CO., et al.,

        Plaintiffs,
                                                     Adv. Proc. No. 15-50766 (KJC)
   v.
                                                     Re: 60 (Scheduling Order)
JEREMY B. CARR, et al.

    Defendants.
_________________________

BARBARA HUNT, et al.,

        Plaintiffs,
                                                     Adv. Proc. No. 18-50402 (KJC)
   v.
                                                     Re: 19 (Scheduling Order)
MARYLAND CASUALTY COMPANY,

        Defendant.


               STIPULATION EXTENDING TIME TO FILE MEMORANDA

        Pursuant to the Court’s order of October 15, 2018 (see D.I. 60 in Adv. Proc. No. 15-

50766; D.I. 19 in Adv. Proc. No. 18-50402), all parties in the above-captioned actions hereby

agree and stipulate as follows:

         1.     The time for Continental Casualty Company and Transportation Insurance

Company (collectively, “CNA”) and Maryland Casualty Company (“MCC”) to file and serve

opening memoranda is extended to and including December 21, 2018.




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       2.     The time for Defendants to file and serve an opposition memorandum and any

motion for certification is extended to and including February 4, 2019.

       3.     The deadlines for filing reply memoranda are linked to the date of service of

preceding briefs; those deadlines shall remain as stated in the Court’s October 15 orders.




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November 26, 2018                                Respectfully submitted,

CONTINENTAL CASUALTY                             JEREMY B. CARR et al.
INSURANCE CO. AND
TRANSPORTATION INSURANCE CO.                     By their attorneys:

By their attorneys:                              GELLERT SCALI BUSENKELL & BROWN LLC

BAYARD, P.A.                                     /s/ Michael Busenkell
                                                 Michael Busenkell, Esq. (No. 3933)
/s/ Scott D. Cousins                             913 N. Market St., 10th Floor
Scott D. Cousins (No. 3079)                      Wilmington, DE 19801
600 N. King Street, Suite 400                    Tel: (302) 425-5800
Wilmington, DE 19801                             Fax: (302) 425-5814
Tel: (302) 655-5000
Fax: (302) 658-6395                              MURTHA CULLINA LLP
scousins@bayardlaw.com                           Daniel C. Cohn, Esq.
                                                 Ryan M. MacDonald, Esq.
FORD MARRIN ESPOSITO                             Keri L. Wintle, Esq.
 WITMEYER GLESER, LLP                            99 High Street
Elizabeth DeCristofaro (pro hac vice)            Boston, MA 02110
Wall Street Plaza, 23rd Floor                    Tel: (617) 457-4000
New York, NY 10005                               Fax: (617) 482-3868
Tel: (212) 269-4900
Fax: (212) 344-4294                              MCGARVEY, HEBERLING,
emdecristofaro@FMEW.com                           SULLIVAN & LACEY, P.C.
                                                 Roger Sullivan, Esq.
GOODWIN PROCTER LLP                              Allan M. McGarvey, Esq.
Daniel M. Glosband (pro hac vice)                John F. Lacey, Esq.
100 Northern Avenue                              345 First Avenue East
Boston, MA 02210                                 Kalispell, MT 59901
Tel: (617) 570-1000                              Tel: (406) 752-5566
Fax: (617) 523-1231
dglosband@goodwinprocter.com

GOODWIN PROCTER LLP
Michael S. Giannotto (pro hac vice)
Brian T. Burgess (pro hac vice)
901 New York Avenue, N.W.
Washington, D.C. 20001
Tel: (202) 346-4000
Fax: (202) 346-4444
mgiannotto@goodwinprocter.com
bburgess@goodwinprocter.com




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BARBARA HUNT et al.                           MARYLAND CASUALTY COMPANY

By their attorneys:                           By its attorneys:

GELLERT SCALI BUSENKELL & BROWN LLC           CONNOLLY GALLAGHER LLP

/s/ Michael Busenkell                         /s/ Jeffrey C. Wisler
Michael Busenkell, Esq. (No. 3933)            Jeffrey C. Wisler (No. 2795)
913 N. Market St., 10th Floor                 The Brandywine Building
Wilmington, DE 19801                          1000 West Street, Suite 1400
Tel: (302) 425-5800                           Wilmington, DE 19801
Fax: (302) 425-5814                           Tel: (302) 757-7300

MURTHA CULLINA LLP                            ECKERT SEAMANS CHERIN & MELLOTT, LLC
Daniel C. Cohn, Esq.                          Edward J. Longosz, II
Taruna Garg, Esq.                             Mark A. Johnston
99 High Street                                Kennedy C. Ramos
Boston, MA 02110                              1717 Pennsylvania Avenue, NW
Tel: (617) 457-4000                           12th Floor
Fax: (617) 482-3868                           Washington, DC 20006
                                              Tel: (202) 659-6600
MCGARVEY, HEBERLING,
 SULLIVAN & LACEY, P.C.
Roger Sullivan, Esq.
Allan M. McGarvey, Esq.
John F. Lacey, Esq.
345 First Avenue East
Kalispell, MT 59901
Tel: (406) 752-5566




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